Case 2:06-cr-20664-RHC-RSW ECF No. 73, PageID.459 Filed 07/06/09 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,

v.                                                   Case No. 06-20664

ABDUL WAHEED KHAN.

              Defendant.
                                        /

                   OPINION AND ORDER DENYING DEFENDANT’S
                    MOTION FOR MODIFICATION OF SENTENCE

       Defendant Abdul Waheed Khan was convicted for conspiracy to defraud and to

commit offenses against the United States in violation of 18 U.S.C. § 371, and was

sentenced to a total of 24 months in prison on March 3, 2008. Pending before the court

is Defendant’s “Motion For Modification of Sentence.” Defendant argues that his

sentence should be modified for three reasons: (1) he was a victim of organized crime;

(2) his 24-month sentence has caused his family tremendous economic hardship; and

(3) he never possessed the mens rea necessary to commit the crime.

       A district court may reduce a defendant’s sentence if modification is authorized

by statute. United States v. Ross, 245 F.3d 577, 586 (6th Cir. 2001). Defendant asks

this court to reduce his sentence pursuant to 18 U.S.C. § 3582(c)(1)(A)(I), which permits

reduction “upon motion of the Director of the Bureau of Prisons” if the court finds that

extraordinary and compelling reasons warrant such a reduction. Defendant is not

eligible for such a reduction under 18 U.S.C. § 3582(c)(1)(A)(I) because any such

motion must be brought by the Director of the Bureau of Prisons. Accordingly,
Case 2:06-cr-20664-RHC-RSW ECF No. 73, PageID.460 Filed 07/06/09 Page 2 of 2




         IT IS ORDERED that Defendant’s “Motion for Modification of Sentence” [Dkt. #

70] is DENIED.

                                                         s/Robert H. Cleland
                                                         ROBERT H. CLELAND
                                                         UNITED STATES DISTRICT JUDGE

Dated: July 6, 2009

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, July 6, 2009, by electronic and/or ordinary mail.

                                                         s/Lisa G. Wagner
                                                         Case Manager and Deputy Clerk
                                                         (313) 234-5522




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